Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 1 of 10




                      EXHIBIT H
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 2 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 3 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 4 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 5 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 6 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 7 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 8 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 9 of 10
Case 4:07-cv-05944-JST Document 2242-9 Filed 12/03/13 Page 10 of 10
